   USDC IN/ND case 2:16-cv-00158-APR document 37 filed 10/17/16 page 1 of 2


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

JOSEPH ELWELL, CRYSTAL                        )
ELWELL, DEBORAH BALDWIN,                      )
Individually and as custodian for her         )
Minor children WM and AM,                     )
ROBERT BALDWIN,                               )
                                              )       Case No. 2:16-CV-158
               Plaintiffs,                    )
                                              )
       v.                                     )
                                              )
FIRST BAPTIST CHURCH OF                       )
HAMMOND, INDIANA, INC.,                       )
                                              )
               Defendant.                     )

                                             ORDER

       This matter is before the court on the Agreed Motion to Amend the Scheduling Order

[DE 36] filed by the parties on October 17, 2016. The parties have indicated that based on the

breadth of discovery requests, volume of documents, and possible redactions for privileges the

parties will not be able to meet the October 26, 2016 deadline to complete initial written

discovery. Also, additional time is needed to complete fact depositions. In light of the parties’

agreement and their efforts to comply with the current deadlines, the court finds good cause and

GRANTS the motion.

       The deadlines are EXTENDED as follows:

       1.      Rule 33 interrogatories and Rule 34 document requests exchanged on or before
               November 28, 2016.

       2.      Rule 30 depositions completed on or before March 31, 2017.

       3.      Rule 36 requests for admission completed by May 1, 2017.
USDC IN/ND case 2:16-cv-00158-APR document 37 filed 10/17/16 page 2 of 2


   4.    Plaintiffs disclose the identity of any Rule 26(a)(2) witnesses and the
         witness’s written report by May 1, 2017.

   5.    Defendant deposes Plaintiffs’ Rule 26(a)(2) witnesses by June 1, 2017.

   6.    Defendant discloses the identity of any Rule 26(a)(2) witnesses and the
         witness’s written report by June 30, 2017.

   7.    Plaintiffs depose Defendant’s Rule 26(a)(2) witnesses by July 31, 2017.

   8.    All discovery, including any Rule 26(e) supplements, must be completed by
         August 30, 2017.

   9.    The parties shall file any dispositive motions on or before October 16, 2017.

   10.   The parties shall seek permission to join any additional parties and/or amend the
         pleadings on or before November 28, 2016.

   ENTERED this 17th day of October, 2016.

                                                       /s/ Andrew P. Rodovich
                                                       United States Magistrate Judge




                                          2
